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                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA                                    CASE NUMBER:

                                                                               20-00327-DSF
                         v.                  PLAINTIFF(S)

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